                    Case 20-10553-CSS             Doc 74       Filed 03/10/20         Page 1 of 8




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )   Chapter 11
                                                                     )
    ART VAN FURNITURE, LLC ., et al.,1                               )   Case No. 20-10553 (CSS)
                                                                     )
                                       Debtors.                      )   (Joint Administration Requested)
                                                                     )
                                                                     )   Re: Docket No. 4

                        INTERIM ORDER (I) AUTHORIZING
                   THE DEBTORS TO (A) CONTINUE TO OPERATE
             THEIR CASH MANAGEMENT SYSTEM, (B) HONOR CERTAIN
         PREPETITION OBLIGATIONS RELATED THERETO, AND (C) MAINTAIN
          EXISTING BUSINESS FORMS, AND (II) GRANTING RELATED RELIEF


             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an interim order (this “Interim Order”) (a) authorizing the

Debtors to (i) continue to operate their Cash Management System, (ii) honor certain prepetition

obligations related thereto, and (iii) maintain existing Business Forms in the ordinary course of

business, (b) scheduling a final hearing to consider approval of the Motion on a final basis, and

(c) granting related relief, all as more fully set forth in the Motion; and upon the First Day

Declaration; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334 and the Amended Standing Order; and this Court having found that venue of this proceeding

and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court




1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291); AVCE, LLC (2509);
      AVF Holdings I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC (3451); Levin Parent, LLC
      (8052); Art Van Furniture of Canada, LLC (9491); AV Pure Sleep Franchising, LLC (8968); AVF Franchising,
      LLC (6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort Mattress LLC (4463). The location
      of the Debtors’ service address in these chapter 11 cases is: 6500 East 14 Mile Road, Warren Michigan 48092.

2
      Capitalized terms used but not otherwise defined herein have the meanings given to them in the Motion.



13165368 v1
               Case 20-10553-CSS          Doc 74     Filed 03/10/20      Page 2 of 8




having found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion

were appropriate under the circumstances and no other notice need be provided; and this Court

having reviewed the Motion and having heard the statements in support of the relief requested

therein at a hearing before this Court (the “Hearing”); and this Court having determined that the

legal and factual bases set forth in the Motion and at the Hearing establish just cause for the relief

granted herein; and upon all of the proceedings had before this Court; and after due deliberation

and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

         1.    The Motion is granted on an interim basis as set forth herein.

         2.    The final hearing (the “Final Hearing”) on the Motion shall be held on April 6,

2020, at 1:00 p.m., prevailing Eastern Time. Any objections or responses to entry of a final order

on the Motion shall be filed on or before 4:00 p.m., prevailing Eastern Time, on March 30, 2020,

and shall be served on: (a) the Debtors, Art Van Furniture, LLC, 6500 East 14 Mile Road, Warren

Michigan 48092, Attn: John Budzinski; (b) proposed counsel to the Debtors, Benesch, Friedlander,

Coplan & Aronoff LLP, 222 Delaware Avenue, Suite 801, Wilmington, Delaware 19801, Attn:

Gregory Werkheiser, Michael J. Barrie, Jennifer R. Hoover, Kevin M. Capuzzi, and John C.

Gentile; (c) the Office of The United States Trustee, 844 King Street, Suite 2207, Lockbox 35,

Wilmington, Delaware 19801, Attn: Linda Richenderfer; (d) counsel to the administrative agent

under the Debtors’ ABL loan facilities (i) Morgan, Lewis & Bockius LLP, One Federal Street,

Boston, Massachusetts 02110, Attn: Marjorie S. Crider, (ii) Morgan, Lewis & Bockius LLP, 101

Park Avenue, New York, New York 10178, Attn: Jennifer Feldsher, and (iii) Burr & Forman LLP,

1201 N. Market Street, Wilmington, Delaware 19801, Attn: J. Cory Falgowski; and (e) counsel

to any statutory committee appointed in these chapter 11 cases. In the event no objections to entry




                                                      2
13165368 v1
               Case 20-10553-CSS         Doc 74     Filed 03/10/20     Page 3 of 8




of the Final Order on the Motion are timely received, this Court may enter such Final Order without

need for the Final Hearing.

         3.    The Debtors are authorized continue operating the Cash Management System, as

summarized in Exhibit 1 attached hereto, honor their prepetition obligations related thereto, and

maintain existing Business Forms as set forth herein.

         4.    The Debtors are further authorized to: (a) continue to use, with the same account

numbers, the Bank Accounts, as summarized in Exhibit 2 attached hereto, in existence as of the

Petition Date; (b) use, in their present form, all preprinted checks, correspondence and Business

Forms (including letterhead) without reference to the Debtors’ status as debtors in possession;

provided that once the Debtors’ existing checks and Business Forms have been used, the Debtors

shall, when reordering such documentation, require the designation “Debtor in Possession” and

the corresponding bankruptcy case number on all documentation; provided, further, that, with

respect to such documentation which the Debtors or their agents print themselves, the Debtors

shall begin printing the “Debtor in Possession” legend on such items within ten (10) days of the

date of entry of this Interim Order; (c) treat the Bank Accounts for all purposes as accounts of the

Debtors as debtors in possession; (d) deposit funds in and withdraw funds from the Bank Accounts

by all usual means, including checks, wire transfers, and other debits; and (e) pay the Processor

Fees and Bank Fees, including any prepetition amounts and any ordinary course Bank Fees

incurred in connection with the Bank Accounts, and to otherwise perform their obligations under

the documents governing the Bank Accounts.

         5.    The Cash Management Banks are authorized to continue to maintain, service, and

administer the Bank Accounts as accounts of the Debtors as debtors in possession, without

interruption and in the ordinary course, and to receive, process, honor, and pay, to the extent of



                                                     3
13165368 v1
               Case 20-10553-CSS          Doc 74     Filed 03/10/20     Page 4 of 8




available funds, any and all checks, drafts, wires, credit card payments, and ACH transfers issued

and drawn on the Bank Accounts after the Petition Date by the holders or makers thereof, as the

case may be.

         6.    Subject to applicable bankruptcy or other law, (i) those certain existing deposit

agreements between the Debtors and the Cash Management Banks shall continue to govern the

postpetition cash management relationship between the Debtors and the Cash Management Banks,

and all of the provisions of such agreements, including, without limitation, the termination and fee

provisions, shall remain in full force and effect, and (ii) either the Debtors or the Cash Management

Banks, may, without further order of this Court, implement changes to the Cash Management

Systems and procedures in the ordinary course of business pursuant to the terms of those certain

existing deposit agreements, including without limitation, the opening and closing of Bank

Accounts.

         7.    The Debtors are authorized, subject to the consent of the ABL Agent, to open any

new Bank Accounts or close any existing Bank Accounts; provided that the opening or closing of

a Bank Account occurs pursuant to terms of this Interim Order; provided, further, that the Debtors

give notice within fifteen (15) days to the U.S. Trustee and any statutory committees appointed in

these chapter 11 cases of the opening or closing of a Bank Account; provided, further, that the

Debtors shall open any new Bank Account at a bank that has executed a Uniform Depository

Agreement with the Office of the United States Trustee for the District of Delaware or is willing

to immediately execute such an agreement.

         8.    All banks maintaining any of the Bank Accounts that are provided with notice of

this Interim Order shall not honor or pay any bank payments drawn on the listed Bank Accounts

or otherwise issued before the Petition Date for which the Debtors specifically issue stop payment



                                                      4
13165368 v1
               Case 20-10553-CSS          Doc 74     Filed 03/10/20      Page 5 of 8




orders in accordance with the documents governing such Bank Accounts.

         9.    Each bank, including the Cash Management Banks, is authorized to debit the

Debtor’s accounts in the ordinary course of business without the need for further order of this

Court for: (a) all checks drawn on the Debtor’s accounts which are cashed at such Bank’s counters

or exchanged for cashier’s checks by the payees thereof prior to the Petition Date; (b) all checks

or other items deposited in one of Debtor’s accounts with such Bank prior to the Petition Date

which have been dishonored or returned unpaid for any reason, together with any fees and costs in

connection therewith, to the same extent the Debtor was responsible for such items prior to the

Petition Date; and (c) all undisputed prepetition amounts outstanding as of the date hereof, if any,

owed to any Bank as service charges for the maintenance of the Cash Management System.

         10.   The Cash Management Banks are authorized, without further order of this Court,

to deduct all applicable fees from the applicable Bank Accounts consistent with historical practice.

         11.   Subject to the terms set forth herein, any bank, including the Cash Management

Banks, may rely upon the representations of the Debtors with respect to whether any check, draft,

wire, or other transfer drawn or issued by the Debtors prior to the Petition Date should be honored

pursuant to any order of this Court, and no bank that honors a prepetition check or other item

drawn on any account that is the subject of this Interim Order (a) at the direction of the Debtors or

(b) in a good-faith belief that this Court has authorized such prepetition check or item to be honored

shall be deemed to be nor shall be liable to the Debtors or their estates, or any party on account of

such prepetition check or other item being honored postpetition, or otherwise deemed to be in

violation of this Interim Order, provided that, at checks issued by the Debtors prior to the Petition

Date on account of payroll due to employees should be honored pursuant to this paragraph 12 of

this Interim Order.



                                                      5
13165368 v1
               Case 20-10553-CSS          Doc 74     Filed 03/10/20      Page 6 of 8




         12.   The Debtors may keep open one or more of the bank accounts at First

Commonwealth, provided, that if the balance in such accounts aggregates to more than $250,000,

the Debtors shall sweep all funds in excess of that amount into one or more of the Debtors’

accounts at a bank that is signatory to a Uniform Depository Agreement in a form prescribed by

the U.S. Trustee; provided, further, that the Debtors shall provide copies of the bank statements

for such bank accounts to the Office of the U.S. Trustee upon request.

         13.   The Debtors shall calculate quarterly fees under 28 U.S.C. § 1930(a)(6) based on

the disbursements of each Debtor, regardless of who pays those disbursements.

         14.   For banks at which the Debtors hold bank accounts that are party to a Uniform

Depository agreement with U.S. Trustee, within fifteen days of the date of entry of this Interim

Order, the Debtors shall (a) contact each bank, (b) provide the bank with each of the Debtors'

employer identification numbers and (c) identify each of their bank accounts held at such banks as

being held by a debtor in possession in a bankruptcy case and provide the case numbers.

         15.   Notwithstanding anything to the contrary set forth herein, the Debtors are

authorized to continue engaging in in connection with the Cash Management System in the

ordinary course of business; provided that there shall be no intercompany loans from the Debtors

to any non-Debtors, absent further order of the Court. The Debtors shall maintain accurate,

current, and detailed records with respect to all transfers, including but not limited to, all

Intercompany Transactions may be readily ascertained, traced, and properly recorded on

intercompany accounts; provided that such records shall distinguish between prepetition and

postpetition transactions.

         16.   Nothing contained in the Motion or this Interim Order shall be construed to

(a) create or perfect, in favor of any person or entity, any interest in cash of a Debtor that did not



                                                      6
13165368 v1
               Case 20-10553-CSS           Doc 74     Filed 03/10/20      Page 7 of 8




exist as of the Petition Date or (b) alter or impair any security interest or perfection thereof, in

favor of any person or entity, that existed as of the Petition Date.

         17.    For the avoidance of doubt, the Debtors are authorized to continue using the credit

cards used by the Debtors’ employees in the ordinary course of business and consistent with

prepetition practices.

         18.    Notwithstanding the relief granted in this Interim Order and any actions taken

pursuant to such relief, nothing in this Interim Order shall be deemed: (a) an admission as to the

validity of any prepetition claim against a Debtor entity; (b) a waiver of the Debtors’ or any other

party in interest’s rights to dispute any prepetition claim on any grounds; (c) a promise or

requirement to pay a prepetition claim; (d) an implication or admission that any particular claim is

of a type specified or defined in the Motion or any order granting the relief requested by the

Motion; (e) a request or authorization to assume any prepetition agreement, contract, or lease

pursuant to section 365 of the Bankruptcy Code; or (f) a waiver or limitation of the Debtors’ or

any other party in interest’s rights under the Bankruptcy Code or any other applicable law; or (g)

a concession by the Debtors or any other party-in-interest that any liens (contractual, common law,

statutory, or otherwise) satisfied pursuant to this Interim Order are valid and the Debtors and all

other parties-in-interest expressly reserve their rights to contest the extent, validity, or perfection,

or to seek avoidance of all such liens. Any payment made pursuant to this Interim Order should

not be construed as an admission as to the validity, priority, or amount of any particular claim or

a waiver of the Debtors’ or any other party-in-interest’s rights to subsequently dispute such claim.

         19.    The banks and financial institutions on which checks were drawn or electronic

payment requests made in payment of the prepetition obligations approved herein are authorized

to receive, process, honor, and pay all such checks and electronic payment requests when presented



                                                        7
13165368 v1
                Case 20-10553-CSS          Doc 74     Filed 03/10/20     Page 8 of 8




for payment, and all such banks and financial institutions are authorized to rely on the Debtors’

designation of any particular check or electronic payment request as approved by this Interim

Order.

         20.     The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b).

         21.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Bankruptcy Local Rules

are satisfied by such notice.

         22.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Interim

Order are immediately effective and enforceable upon its entry.

         23.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Interim Order in accordance with the Motion.

         24.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Interim Order.


 Dated: March 10, 2020
 Wilmington, Delaware                               CHIEF JUDGE CHRISTOPHER S. SONTCHI
                                                    UNITED STATES BANKRUPTCY JUDGE




          Dated: March 10th, 2020                     CHRISTOPHER S. SONTCHI
          Wilmington, Delaware                        UNITED STATES BANKRUPTCY JUDGE


                                                       8
13165368 v1
